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                 EXHIBIT 4
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman; )
Maria Valencia; and Jeremiah Jurevis;       )
                                            )
                              Plaintiffs,   )
                                            )        No. 18 CV 03424
              v.                            )
                                            )
Chicago Park District and City of Chicago, )         Judge John Robert Blakey
                                            )
                              Defendants. )

          DEFENDANTS’ MANDATORY INITIAL DISCOVERY RESPONSES

        Defendant City of Chicago (“City”), by its attorneys, Edward N. Siskel, Corporation
Counsel for the City, and Mayer Brown LLP, and Defendant Chicago Park District (“Park
District”), by its attorney, Burke, Warren, MacKay & Serritella P.C., hereby submit their initial
discovery responses pursuant to the Northern District of Illinois’ Standing Order Regarding
Mandatory Initial Discovery Pilot Project (“MIDP Standing Order”).

                              Defendants’ Preliminary Statement

        Paragraph B of the MIDP Standing Order requires the disclosure of certain materials and
information “relevant to any party’s claims or defenses.” The universe of relevant materials in
this case is limited to official government approvals and related public proceedings, or other
items subject to judicial notice. As Defendants explain in their November 21, 2018 Motion to
Stay Discovery (“Mot. to Stay”), and in their November 21, 2018 Memorandum in Support of
Defendants’ Rule 12(b)(1) Motion to Dismiss for Lack of Subject-Matter Jurisdiction, and in the
Alternative, Rule 12(c) Motion for Judgment on the Pleadings (“Dispositive Mot. Mem.”),
Plaintiff’s claims and Defendants’ affirmative defenses can be resolved on the basis of
Defendants’ official approvals concerning the OPC; the official, public legal documents
governing the relationship between The Barack Obama Foundation (“Foundation”) and the City;
and information contained in a limited number of judicially-noticeable documents. No
additional factual material that may be in the possession of Defendants is necessary or relevant to
Plaintiffs’ claims or Defendants’ defenses. For instance, Plaintiffs’ central claim – that Illinois
public trust doctrine is violated by the transfer of land from the Park District to the City for use
as the Obama Presidential Center (“OPC”) by the Foundation – raises a pure question of law that
can be resolved based solely on the Park District Aquarium and Museum Act’s (“Museum Act”)
textual authorization of presidential centers. And even if it were necessary to consider factors
other than the Museum Act’s textual authorization , the Court would have no need to go beyond
“the Act, the implementing agreements, []or the project documents,” to adjudicate Plaintiffs’
claims. Friends of the Parks v. Chicago Park Dist., 203 Ill. 2d 312, 327 (2003).


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        Defendants’ responses herein are made subject to this understanding of relevance.
Should the Court endorse a view of relevance broader than the one stated above, Defendants
reserve the right to supplement these responses to disclose responsive information, assert
privilege, or raise objections, as contemplated by Paragraph A.2 of the MIDP Standing Order.
Defendants also state that these responses are based on information reasonably available to
Defendants to date. Defendants may not yet have discovered witnesses or documents, or
inadvertently may have omitted witnesses or documents from these Initial Disclosures, which
later may be deemed relevant. Defendants reserve the right to make use of such information and
documents as they are discovered and to supplement these responses accordingly. Defendants
also reserve the right to call any witnesses identified or disclosed by Plaintiffs or any witness
discovered to have relevant information.

       Subject to the foregoing, Defendants submit the following MIDP initial discovery
responses:

       1.      MIDP Standing Order ¶ B.1: State the names and, if known, the addresses and
telephone numbers of all persons who you believe are likely to have discoverable information
relevant to any party’s claims or defenses, and provide a fair description of the nature of the
information each such person is believed to possess:

       Response:       Subject to Defendants’ preliminary statement, Defendants do not believe
any persons are likely to have discoverable information relevant to any party’s claims or
defenses beyond the information described below in response to item 3.

        2.     MIDP Standing Order ¶ B.2: State the names and, if known, the addresses and
telephone numbers of all persons who you believe have given written or recorded statements
relevant to any party’s claims or defenses. Unless you assert a privilege or work product
protection against disclosure under applicable law, attach a copy of each such statement if it is in
your possession, custody, or control. If not in your possession, custody, or control, state the name
and, if known, the address and telephone number of each person who you believe has custody of
a copy.

        Response:      Subject to Defendants’ preliminary statement, Defendants have not
identified any persons believed to have given written or recorded statements relevant to any
party’s claims or defenses beyond statements contained in the materials described below in
response to item 3.

        3.      MIDP Standing Order ¶ B.3: List the documents, electronically stored
information (“ESI”), tangible things, land, or other property known by you to exist, whether or
not in your possession, custody or control, that you believe may be relevant to any party’s claims
or defenses. To the extent the volume of any such materials makes listing them individually
impracticable, you may group similar documents or ESI into categories and describe the specific
categories with particularity. Include in your response the names and, if known, the addresses
and telephone numbers of the custodians of the documents, ESI, or tangible things, land, or other
property that are not in your possession, custody, or control. For documents and tangible things
in your possession, custody, or control, you may produce them with your response, or make them

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available for inspection on the date of the response, instead of listing them. Production of ESI
will occur in accordance with paragraph C.2 below.

       Response:     Subject to Defendants’ preliminary statement, Defendants disclose the
following materials.

       City ordinances and other official City and Park District authorizations concerning the
        OPC, including authorization of the transfer of the OPC site from the Park District to
        the City, authorization of the Foundation’s use of that land for the OPC, authorization
        of the City to enter into agreements with the Foundation governing use of that land for
        the OPC, and authorization of the Foundation’s application for approval under the
        City’s Lake Michigan and Chicago Lakefront Protection Ordinance. See, e.g., Exs.1, 5-
        7 to Defs.’ Dispositive Mot. Mem; Exs. 3 & 4 to Defs’ Answer and Affirmative
        Defenses.

       Official legislative history of the official City and Park District authorizations. See,
        e.g., Ex. 8 to Defs.’ Dispositive Mot. Mem.

       Maps showing the location of the OPC site on specifically demarcated portions of
        surveyed land and in relation to the shoreline of Lake Michigan in 1822, 1834, and 2009.
        See Exs. 2-4 to Defs.’ Dispositive Mot. Mem.

       Official correspondence from the Internal Revenue Service concerning the Foundation’s
        tax-exempt status. See Ex. 9 to Defs.’ Dispositive Mot. Mem.

       United States land patents authorizing the sale of portions of land containing the current
        OPC site from the United States to private purchasers. See Ex. 10-11 to Defs.’
        Dispositive Mot. Mem.

       Operating contracts between the Park District (or its predecessors) and private museum
        corporations governing the use of parkland for the operation of other museums. See,
        e.g., Exs. 12-14 to Defs.’ Dispositive Mot. Mem.

       The land in Jackson Park comprising the proposed OPC site.


       4.        MIDP Standing Order ¶ B.4: For each of your claims or defenses, state the facts
relevant to it and the legal theories upon which it is based.

First Affirmative Defense: Lack of Subject-Matter Jurisdiction (Lack of Standing)

         Plaintiffs lack standing because they fail to allege a concrete and particularized injury,
asserting no more than a generalized grievance. The facts and legal theories upon which this
defense is based are set forth in full in Defendants’ Answer and Affirmative Defenses (at 70-72)
and in Defendants’ Dispositive Motion Memorandum (at Part I), which are hereby incorporated

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by reference. In particular, Plaintiffs lack standing in federal court to assert claims based on their
purported status as beneficiaries of a public trust under Illinois law because, by their own
admission, that alleged interest is common to all Illinois residents and does not provide Plaintiffs
with the required personal stake for Article III standing. Plaintiffs’ alleged status as taxpayers is
also inadequate because they also share that status with thousands, if not millions, of other
residents and because they fail to allege that any tax revenue will be spent in the way they fear.

Second Affirmative Defense: Lack of Subject-Matter Jurisdiction (Lack of Ripeness)

        Plaintiffs’ First Amendment claim (Count VI) is not ripe. The facts and legal theories
upon which this defense is based are set forth in full in Defendants’ Answer and Affirmative
Defenses (at 72) and in Defendants’ Dispositive Motion Memorandum (at Section II.B), which
are hereby incorporated by reference. In particular, Plaintiffs allege that (i) the OPC will be
used for partisan political activity and (ii) residents with contrary views will have to support
that supposed political activity in the future through payment of a tax under the Museum Act.
But these allegations are both speculative and contrary to the Museum Act, as well as the
Foundation’s obligations under a City ordinance, the use agreement between the Foundation
and the City, and the Internal Revenue Code. In short, Plaintiffs ask the Court for an advisory
opinion, based on a presumption that years from now the Foundation might violate the law and
legal documents governing the site, and their claim is therefore unripe.

        5.     MIDP Standing Order ¶ B.5: Provide a computation of each category of damages
claimed by you, and a description of the documents or other evidentiary material on which it is
based, including materials bearing on the nature and extent of the injuries suffered. You may
produce the documents or other evidentiary materials with your response instead of describing
them.

        Paragraph B.5 is not applicable to Defendants.

        6.       MIDP Standing Order ¶ B.6. Specifically identify and describe any insurance or
other agreement under which an insurance business or other person or entity may be liable to
satisfy all or part of a possible judgment in the action or to indemnify or reimburse a party for
payments made by the party to satisfy the judgment. You may produce a copy of the agreement
with your response instead of describing it.

        Paragraph B.6 is not applicable to Defendants.


Date:   November 21, 2018                                 Respectfully submitted,

BURKE, WARREN, MACKAY &                                   EDWARD N. SISKEL
SERRITELLA, P.C.                                          Corporation Counsel for the City of Chicago
Counsel for the Chicago Park District

By:      /s/ Joseph P. Roddy                              By:     /s/ Justin Tresnowski



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                          FED. R. CIV. P. 26(g) CERTIFICATION

I, Joseph P. Roddy, an attorney for the Chicago Park District, certify that the foregoing responses
are complete and correct to the best of my knowledge, information and belief at this time and
based on a reasonable inquiry.

Date: November 21,2018



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